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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS


 ARDAGH METAL PACKAGING                     )
 USA CORP. F/K/A ARDAGH                     )
 METAL BEVERAGE USA INC.,                   )
                                            )         Case No: ____________________
                Plaintiff,                  )
                                            )
                v.                          )
                                            )
 AMERICAN CRAFT BREWERY,                    )
 LLC D/B/A VARIOUS BOSTON                   )
 BEER BREWERIES,                            )
                                            )
                Defendant.                  )


                                         COMPLAINT

       Plaintiff Ardagh Metal Packaging USA Corp. f/k/a Ardagh Metal Beverage USA Inc.

(“Ardagh”), by and through its undersigned counsel, brings this complaint against Defendant

American Craft Brewery, LLC d/b/a various Boston Beer breweries (“ACB”), and alleges as

follows:

                                   NATURE OF THE CASE

       1.      This is a breach of contract action that arises out of ACB’s failure to purchase the

contractual minimum volumes of certain aluminum beverage can containers in 2021 and 2022, its

refusal to provide reasonable assurances of its future performance of its contractual obligations,

and its anticipated failure to purchase a minimum volume of certain aluminum beverage can

containers in each of        through     , all in material breach of ACB’s contractual obligations

pursuant to the Aluminum Beverage Can Supply Agreement, effective as of January 1, 2020 (the

“Initial Agreement”), as amended by the First Amendment to Can Supply Agreement effective as
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of December 22, 2020 (the “Amendment” and together with the Initial Agreement, the “Amended

Agreement”).

       2.      Based upon ACB’s material breach of the Amended Agreement, Ardagh seeks its

available remedies, including recovery of damages in the tens of millions of dollars and more, far

in excess of $75,000 exclusive of interest, costs, and attorneys’ fees.

       3.      In the alternative, Ardagh seeks specific performance requiring ACB to perform its

obligations under the Amended Agreement, including the timely purchase of the contractual

minimum volumes of aluminum beverage can containers for each of 2021, 2022,

         .

                          PARTIES, JURISDICTION, AND VENUE

       4.      Ardagh is a corporation organized and existing under Delaware law with its

principal place of business in Chicago, Illinois. For diversity purposes, Ardagh is a citizen of the

State of Delaware and the State of Illinois.

       5.      ACB is a limited liability company existing and organized under Massachusetts law

with a principal place of business in Boston, Massachusetts.

       6.      The sole member of ACB is Boston Beer Company, Inc., a corporation organized

and existing under Massachusetts law with a principal place of business in Boston, Massachusetts.

For diversity purposes, ACB is a citizen of the Commonwealth of Massachusetts.

       7.      The Court has diversity jurisdiction over this dispute pursuant to 28 U.S.C.

§ 1332(a)(1) because the controversy is between citizens of different states and the amount in

controversy exceeds $75,000, exclusive of interest and costs.




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        8.      The Court has personal jurisdiction over ACB because ACB continuously conducts

business and sells its products in Illinois and this action arises out of specific activities undertaken

by ACB within and affecting the State of Illinois, including:

                (a)     ACB is registered with the Illinois Secretary of State to do business in

Illinois;

                (b)     ACB continuously does business in Illinois, including by advertising its

products throughout Illinois and selling its products throughout Illinois;

                (c)     ACB contracted with Ardagh, a corporation with its principal place of

business located in Illinois;

                (d)     ACB conducted negotiations of the Amended Agreement in Illinois by

directing its communications regarding the contract into Illinois;

                (e)     All notices under the Amended Agreement were to be provided to Ardagh

in Illinois, and ACB employees and executives regularly communicated regarding the Amended

Agreement with Ardagh employees and executives in Illinois;

                (f)     ACB made payments to Ardagh under the Amended Agreement in Illinois;

                (g)     The testing of ACB’s beverages for the cans produced under the Amended

Agreement took place in Illinois;

                (h)     The artwork and graphic design for the cans produced under the Amended

Agreement took place in Illinois; and

                (i)     ACB personnel travelled to Ardagh’s facilities in Illinois related to the

foregoing design work.

        9.      Venue lies in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to this action occurred in this judicial district—namely,



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ACB contracted with Ardagh, a corporation with its principal place of business located in this

judicial district, to purchase certain aluminum beverage can containers and thereafter failed to

honor its obligations to Ardagh.

                                    FACT ALLEGATIONS

The Amended Agreement and Ardagh’s Reasonable Reliance on ACB’s Promises

       10.     Effective January 1, 2020, Ardagh and ACB entered into the Initial Agreement

pursuant to which Ardagh agreed to supply, and ACB agreed to purchase, a minimum volume of

certain aluminum beverage can bodies                          , referred to as               cans,

in each of 2020, 2021, and 2022.

       11.     Beginning only months after the effective date of the Initial Agreement, ACB

requested certain modifications of the Initial Agreement. In response to ACB’s request, Ardagh

engaged in negotiations with ACB for modification of the Initial Agreement.

       12.     ACB sought modification to:

               (a)     extend the term of the Initial Agreement through                  ;

               (b)    add additional                                      cans

     for purchase;

               (c)    increase the annual minimum purchase and supply requirements for

can bodies                          that are the subject of the Initial Agreement through

     ; and

               (d)    reserve Ardagh’s production capacity up to annual maximum volumes.

       13.     Effective December 22, 2020, Ardagh and ACB entered into the Amendment,

which extended the term of the Initial Agreement through                     , added additional

                             cans                           for purchase, and set specific annual



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minimum purchase requirements for         can bodies                            that are the

subject of the Amended Agreement              , which the Amendment refers to as the “Annual

Minimum Volume” for each can body.

      14.    Section 2.2 of the Amended Agreement requires ACB to purchase enumerated

minimum volumes:




      15.    Section 2.2’s Annual Minimum Volumes is a non-discretionary requirement of

ACB with no predicate conditions:




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       16.     Section 2.2.1 of the Amended Agreement requires




       17.     In reliance on ACB’s request to amend the Initial Agreement and ACB’s

contractual obligation to purchase the Annual Minimum Volumes agreed to in the Amendment,

Ardagh reserved manufacturing capacity and invested capital to create and to operate additional

manufacturing capacity to supply ACB with ACB’s required minimum (and maximum) container

purchases at the expense of selling and contracting that same capacity to other customers.

       18.     In reasonable reliance upon ACB’s representations in negotiations of the Initial

Agreement, ACB’s representations in negotiations of the Amendment, and ACB’s contractual

commitments in the Amended Agreement, Ardagh has spent millions of dollars to ensure it would

meet its obligations to ACB under the Amended Agreement. These expenditures include but are

not limited to incurring labor and energy costs; purchasing aluminum and other materials; and

purchasing, installing, and operating new production equipment.

ACB Breaches the Amended Agreement.

       19.     In 2021, ACB failed and refused to purchase the defined Annual Minimum

Volumes of the                                           can bodies                          .

       20.     Specifically, for the            can, ACB was required to purchase                cans

in 2021, but it purchased                                 cans.


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       21.     For the               can, ACB was required to purchase               in 2021,

but it purchased                             cans.

       22.     For the        can, ACB was required to purchase                in 2021, but it

purchased                            cans.

       23.     The following tables show the Annual Minimum Volumes set forth in the Amended

Agreement; ACB’s actual purchases in 2021; ACB’s purchases in 2022 (based on actual purchases

through November and ACB’s December forecast);

                                        ; and the corresponding shortfalls, with all volumes

expressed in thousands of units.




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         24.   ACB failed and refused to purchase the Annual Minimum Volumes in 2021 and in

2022.

         25.   In 2022, the Amended Agreement requires ACB to purchase

cans, but ACB purchased                                                 cans, which did not satisfy

ACB’s obligation to make up its 2021 purchase shortfall, let alone begin to meet its

purchase requirement for 2022.

         26.   In 2022, the Amended Agreement requires ACB to purchase

          cans, but ACB failed to make the                      cans purchases to satisfy ACB’s

obligation to make up any purchase shortfall in the next subsequent year as well as ACB’s

                        can purchase required for 2022.

         27.   In 2022, the Amended Agreement requires ACB to purchase                        cans

and ACB is expected to purchase                                         cans, which would satisfy

ACB’s obligation to make up its 2021 purchase shortfall but leaves ACB having met

                                 can purchase requirement for 2022.

         28.   Pursuant to the applicable provisions of the Uniform Commercial Code, Ardagh

demanded reasonable assurances from ACB that it will (a) cure its current defaults and (b) perform

its contractual obligations for future years as required by the Amended Agreement.


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       29.     ACB has failed and refused to provide Ardagh with reasonable assurances either

that it will cure its defaults or perform its contractual obligations for the remaining term of the

Amended Agreement.

       30.     Upon information and belief, ACB knows and expects that it will fail to remedy

any of its purchasing shortfalls and will continue to fail to meet the Annual Minimum Volumes

for 2021, 2022, and all future years, and the shortfalls will accumulate and compound during the

remaining term of the Amended Agreement.

       31.     Upon information and belief, throughout the term of the Amended Agreement

ACB had made other aluminum beverage can purchasing commitments to, and purchases from, a

third party, Ball Corporation (“Ball”). At the time that ACB entered into the Amendment with

Ardagh, ACB knew or reasonably should have known that its arrangement with Ball would

preclude ACB from being able to purchase the Annual Minimum Volumes                              .

       32.     Upon information and belief, ACB entered into the Amended Agreement and has

conducted itself during the term of the Amended Agreement with knowledge its representations

and omissions would mislead Ardagh or with reckless indifference to the fact its representations

and omissions would mislead Ardagh; and with reckless indifference or knowing disregard of the

rights of Ardagh, the significant investment of time and resources that Ardagh would be making

in connection with the Amended Agreement, and the harm Ardagh would and is suffering as the

result of ACB’s continuing breach of the Amended Agreement.

       33.     ACB’s failure timely to disclose to Ardagh that ACB would fail to purchase the

Annual Minimum Volumes for 2022 and ACB’s further failure to provide reasonable forecasts for

future years of the term of the Amended Agreement has reduced and precluded Ardagh from

avoiding the consequences of ACB’s breach, including efforts to identify and contract with a



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replacement buyer for the 2021, 2022, and future shortfalls of ACB’s purchase of Annual

Minimum Volumes, as well as avoiding expenditures of additional capital to meet the production

requirements of the Amended Agreement.

       34.     All conditions precedent to suit have been satisfied, including Ardagh’s compliance

with Section 15 of the Amended Agreement.

       35.     Ardagh attempted to settle this dispute through good faith consultation with ACB

for several months in the summer and fall of 2022. These consultations included, without

limitation, Ardagh sales personnel repeatedly attempting to discuss the shortfalls with ACB

personnel to no avail; Ardagh senior officers requesting reasonable assurances from ACB that it

would comply with its obligations under the contract; and Ardagh senior officers initiating

consultations directly with ACB senior officers regarding the severity of the breaches and damages

and potential remedies.

       36.     Because Ardagh’s good faith consultations did not result in resolution of the

dispute, Ardagh provided ACB with formal written notice of the dispute on October 21, 2022.

Because Ardagh and ACB had been engaged in consultations for several months without success,

Ardagh proposed that the parties waive

                                                          .

       37.     On November 10, 2022, ACB agreed with Ardagh to waive




       38.     Ardagh commenced a mediation with JAMS through written request on November

15, 2022.




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        39.

                                                         .

        40.     Following commencement of the mediation, ACB has refused to agree to a

mediator (refusing to even consider or discuss any of the eight mediators recommended by JAMS),

has sought to postpone the mediation until February, and has prevented the mediation from

occurring

        41.     Despite Ardagh’s good faith efforts, the parties failed to resolve this dispute by

mediation                                                                .

        42.     Because there has been no mediation and the mediation specified in the Amended

Agreement has failed (due to ACB’s refusal to conduct it), Ardagh may pursue this litigation.

                                            COUNT I
                               (Breach of the Amended Agreement)

        43.     Ardagh incorporates the allegations contained in the preceding paragraphs as if

fully set forth herein.

        44.     The Amended Agreement is a valid, binding, and enforceable contract.

        45.     Ardagh has performed all of its obligations under the Amended Agreement for 2021

and 2022. It remains willing and able to perform its obligations

under the Amended Agreement.

        46.      Ardagh has satisfied any and all conditions precedent to filing this lawsuit for

enforcement of the Amended Agreement.

        47.     ACB has breached the Amended Agreement by failing to purchase the 2021 and

2022 Annual Minimum Volumes of the                                                 can bodies

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       48.     ACB has breached the Amended Agreement after Ardagh’s demand for reasonable

assurances by failing to provide Ardagh with reasonable assurances either that it will cure its

defaults or perform its contractual obligations for the remaining term of the Amended Agreement.

       49.     ACB has failed and refused to remedy its material breaches of the Amended

Agreement.

       50.     ACB’s behavior in connection with its breaches has been egregious because ACB

entered into an aluminum can purchasing agreement with Ball, an act which ACB understood

would preclude it from purchasing the Annual Minimum Volumes under the Amended Agreement

with Ardagh.

       51.     As a direct and proximate result of ACB’s breaches of the Amended Agreement,

Ardagh has been and continues to be directly damaged in an amount to be proven at trial in the

tens of millions of dollars and more, but not less than $75,000, plus prejudgment and post-

judgment interest and all costs, including attorneys’ fees, incurred by Ardagh in pursuing this

litigation or otherwise enforcing its rights under the Amended Agreement.

       52.     Ardagh is entitled to an award of direct damages in an amount to be proven at trial

in the tens of millions of dollars and more.

       53.     In the alternative, as a direct and proximate result of ACB’s breach of the Amended

Agreement, and because there is no other adequate remedy at law, Ardagh is entitled to an order

of specific performance requiring ACB to comply with the terms of the Amended Agreement,

including purchasing the 2021 and 2022 shortfall Annual Minimum Volumes and the requisite

Annual Minimum Volumes in each year thereafter                              .

       54.     The cans that ACB is obligated to purchase are not fungible and, due to the massive

volume of the Annual Minimum Volumes shortfalls, present special circumstances that may result



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in Ardagh having to close production lines or facilities due to an inability to sell the cans to another

party.

         55.   The circumstances of the instant case are such that an award of specific

performance is proper.

         56.   Further,




         57.   Upon information and belief, ACB’s conduct and positions have been and continue

to be egregious within the definition of the Amended Agreement.

         58.   Ardagh as the party seeking enforcement is entitled to an award of reasonable costs,

fees and expenses, including attorneys’ fees.

         WHEREFORE, Ardagh respectfully requests that the Court:

         (a)   Enter judgment against ACB for breach of the Amended Agreement in an amount

to be determined at trial, but not less than $75,000;

         (b)   In the alternative, enter an order of specific performance requiring ACB to comply

with the terms of the Amended Agreement, including purchasing the 2021 shortfall Annual

Minimum Volumes in 2022, the 2022 shortfall Annual Minimum Volumes                           , and the

requisite Annual Minimum Volumes in each year thereafter

         (c)   Award Ardagh pre-judgment and post-judgment interest as permitted by law;

         (d)   Award Ardagh costs and reasonable attorneys’ fees incurred in pursuing this action

as provided by the Amended Agreement and permitted by law; and



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        (e)      Award Ardagh such other and further relief as shall be just and proper.

                                            COUNT II
                                      (Declaratory Judgment)

        59.      Ardagh incorporates the allegations contained in the preceding paragraphs as if

fully set forth herein.

        60.      The Amended Agreement is a valid, binding, and enforceable contract.

        61.      The                                           can bodies

that Ardagh agreed to make for ACB pursuant to the Amended Agreement are not fungible and

have been designed and manufactured specifically for ACB, at ACB’s request.

        62.      Ardagh fully performed all of its obligations under the Amended Agreement for

2021 and 2022; Ardagh remains willing and able to perform its obligations

              under the Amended Agreement; and Ardagh has satisfied any and all conditions

precedent to enforcement of the Amended Agreement.

        63.      ACB has materially breached the Amended Agreement by failing to purchase the

2021 Annual Minimum Volumes of the                                                  can bodies

                       .

        64.      Despite demand by Ardagh, ACB has failed or refused to remedy its material

breach of the Amended Agreement.

        65.      Despite demand by Ardagh, ACB has failed or refused to provide reasonable

assurances that it will remedy its material breaches of the Amended Agreement or perform its

purchase obligations for the remaining term of the Amended Agreement.

        66.      Ardagh is entitled to a declaratory judgment that ACB is in breach of the Amended

Agreement for the years 2021, 2022, and that ACB is required to purchase the Annual Minimum

Volumes in future years of the term of the Amended Agreement.


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       67.     Further,




       68.     Upon information and belief, ACB’s conduct and positions have been and continue

to be egregious within the definition of the Amended Agreement.

       69.     Ardagh as the party seeking enforcement is entitled to an award of reasonable costs,

fees and expenses, including attorneys’ fees.

       WHEREFORE, Ardagh respectfully requests that the Court:

       (a)     Declare ACB in breach of the Amended Agreement for the years 2021 and 2022;

       (b)     Declare that ACB is required to purchase the Annual Minimum Volumes in future

years of the term of the Amended Agreement;

       (c)     Enter an order of specific performance requiring ACB to comply with the terms of

the Amended Agreement, including purchasing the 2021 shortfall Annual Minimum Volumes in

2022, the 2022 shortfall Annual Minimum Volumes               , and the requisite Annual Minimum

Volumes in each year thereafter                           ;

       (d)     Award Ardagh pre-judgment and post-judgment interest as permitted by law;

       (e)     Award Ardagh costs and reasonable attorneys’ fees incurred in pursuing this action

as provided by the Amended Agreement and permitted by law; and

       (f)     Award Ardagh such other and further relief as shall be just and proper.

                                   JURY TRIAL DEMAND

       Ardagh demands a trial by jury for all issues so triable.



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     Date: December 31, 2022

/s/ Adam J. Glazer         f                 James P. McLoughlin, Jr. (N.C. Bar No. 13795)
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Richard M. Goldwasser (IL ARDC No.           Christopher D. Tomlinson (N.C. Bar No. 38811)
6205119)                                     (Pro Hac Vice anticipated)
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